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     8
     9                          UNITED STATES DISTRICT COURT
    10               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    11
    12 IRONHAWK TECHNOLOGIES, INC.,                  Case No. 2:18-cv-01481-DDP-JEM
       a Delaware Corporation,
    13
                                                     IRONHAWK TECHNOLOGIES,
    14              Plaintiff and                    INC.’S OPPOSITION TO
                    Counterdefendant,                DROPBOX, INC.’S MOTION FOR
    15                                               SUMMARY JUDGMENT
             vs.
    16
       DROPBOX, INC., a Delaware                     Judge:    Hon. Dean D. Pregerson
    17 corporation,                                  Date:     September 23, 2019
                                                     Time:     10:00 am
    18                                               Crtrm.:   9C
                    Defendant and
    19              Counterclaimant.
                                                     Trial Date: October 22, 2019
    20                                               Final Pre-Trial Conf.: October 7, 2019
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    23
                REDACTED VERSION OF DOCUMENT PROPOSED TO BE
    24          FILED UNDER SEAL
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     1                      MEMORANDUM OF POINTS AND AUTHORITIES
     2 I.            INTRODUCTION
     3               Plaintiff Ironhawk Technologies, Inc. (“Ironhawk”) is the senior user of the
     4 SmartSync® trademark, having built its business around the mark for approximately
     5 15 years and having owned a federal registration for the mark for use in “computer
     6 software for replicating files” since January 2007. In January 2017, despite having
     7 actual notice of Ironhawk’s trademark use and registration, defendant Dropbox, Inc.
     8 (“Dropbox”) began using the same mark (albeit spelled as “Smart Sync”), on the
     9 same goods (“computer software for replicating files”), marketed to the same
    10 potential customers (any entity with the need to transmit large quantities of
    11 computer data across devices). Under these circumstances, as the Ninth Circuit has
    12 observed, “likelihood of confusion would follow as a matter of course.” Brookfield
    13 Commc’ns, Inc. v. West Coast Ent. Corp., 174 F.3d 1036, 1056 (9th Cir. 1999).
    14               In stark contrast, defendant Dropbox asks this Court to hold that no
    15 reasonable juror, even when construing the evidence and all inferences in favor of
    16 Ironhawk, could find a likelihood of confusion caused by the parties’ concurrent use
    17 of the SmartSync® mark. As a general proposition, granting summary judgment to a
    18 defendant that uses a nearly identical mark on similar goods as the plaintiff is a
    19 recipe for reversal, particularly in this circuit. And here, Ironhawk presents evidence
    20 on each and every relevant factor the Court must consider. For example:
    21        Dropbox says the marks are not actually similar because Dropbox uses its
    22               house mark (Dropbox) in conjunction with its Smart Sync. But Ironhawk has
    23               offers evidence that Dropbox often does not use its house mark in conjunction
    24               with Smart Sync, and regardless, courts recognize that in the reverse
    25               confusion context – i.e., where a much larger junior user saturates the market
    26               with its use of the senior user’s mark – use of a house mark can actually
    27               exacerbate the problem.
    28        Dropbox says Ironhawk’s SmartSync® is conceptually weak, but Ironhawk
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     1         presents evidence that it obtained a registration on the basis of inherent
     2         distinctiveness and Dropbox’s own internal documents acknowledge that the
     3         mark is “evocative” and would “resonate with customers.”
     4      Dropbox says there are many third parties who also use “Smart Sync,” but
     5         many of the claimed uses appear to be for unrelated goods and services (and
     6         thus are irrelevant), and there is no admissible evidence showing the scope or
     7         nature of any of the arguably relevant third-party uses.
     8      Dropbox says that Ironhawk only sells to military customers, but the evidence
     9         shows that Ironhawk sells to commercial customers as well, and even
    10         Ironhawk’s military customers are familiar with and potentially confused by
    11         Dropbox’s use of the same mark.
    12      Dropbox says that it adopted the mark innocently and without knowledge of
    13         Ironhawk’s use.
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    20                                                                    (Venezia Decl., Exh. J
    21         (Han Depo.), P. 139:9–17 & Exh. 101; Exh. H (Sheehan Depo.), PP. 92:16–
    22         93:8 & Exh. 52.)
    23         The list could go on and on. Dropbox attempts to present evidence to support
    24 a narrative that it innocently adopted a weak mark that it uses to sell to different
    25 customers than Ironhawk. Ironhawk presents evidence to support its position that
    26 Dropbox adopted an inherently distinctive and commercially important mark,
    27 knowing of Ironhawk’s use and registration of the same mark for the same category
    28 of goods, thus trampling on the identity Ironhawk had spent well over a decade
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     1 cultivating and cabining Ironhawk’s potential growth.
     2          In sum, this case exemplifies why the Ninth Circuit time and time again
     3 reminds district courts that summary judgment on the issue of likelihood of
     4 confusion should rarely be granted. There is evidence in support of both narratives.
     5 But whichever narrative this Court believes is closer to the truth should be irrelevant
     6 at this stage. Therefore, summary judgment should be denied.
     7 II.      STATEMENT OF FACTS
     8          A.    Ironhawk Markets Its Data Management Software Exclusively
     9                Under the SmartSync® Mark for Well over a Decade
    10          Ironhawk was founded in 2001 with the goal of providing a solution for the
    11 management of large amounts of data in bandwidth-challenged environments.
    12 (Gomes Decl., ¶ 2.) Ironhawk created a unique data management software allowing
    13 for efficient data transfer by using compression and replication, known as
    14 SmartSync®. (Id. at ¶ 3.) SmartSync®’s usefulness in the field of data management
    15 is evident – SmartSync® is a go to for                          when they need a
    16 solution to transfer large amounts of data. (Id. at ¶ 4.)
    17          Ironhawk engaged a branding expert in selecting the SmartSync name, which
    18 was catchy and would be remembered by customers. (Id. at ¶ 6.) Ironhawk started
    19 marketing its software under that name in 2004. (Id. at ¶ 5.) On February 17, 2005,
    20 Ironhawk applied for a trademark for SmartSync, and on January 16, 2007, received
    21 its federal registration for the SmartSync® mark without proof of secondary
    22 meaning. (Id. at ¶ 7 & Exh. A.) Since 2004, Ironhawk has continuously marketed its
    23 software using the mark. (Id. at ¶ 5.) Today, Ironhawk’s business is focused entirely
    24 upon products branded as SmartSync®. (Id. at ¶ 3.)
    25          SmartSync®’s historical implementations have involved the transfer of data
    26 from one node, or location, to another in a one-way transfer. (Gill Decl., ¶ 4.) This
    27 transfer is achieved by the compression and replication of data, and does not involve
    28 synchronization as commonly understood by IT users, i.e., data does not get updated
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  1 to match at each location upon a transfer. (Id.) Ironhawk has however developed one
  2 implementation of SmartSync® that supports bi-directional synchronization,
  3 referred to as its cloud store function, and SmartSync® could be integrated within a
  4 cloud storage environment such as Dropbox to be the engine that drives its data
  5 replication and transfer. (Id. at ¶¶ 5, 7–8.)
  6          Although historically utilized by the armed forces, SmartSync® is also useful
  7 for commercial purposes, and Ironhawk regularly pursues such implementations of
  8 SmartSync®. (Gomes Decl., ¶¶ 8, 13–14.) For instance, SmartSync® was
  9 previously utilized by        to transfer point of sale data. (Id. at ¶ 13.) In recent
 10 years, Ironhawk has discussed potential SmartSync® implementations in the cloud
 11 storage industry with
 12          (Id. at ¶¶ 13–14.) Ironhawk has further discussed implementations with
 13                                 , and           . (Id. at ¶ 13.)
 14          Ironhawk’s exclusive marketing of its products under the SmartSync® mark
 15 for well over a decade has led to a strong recognition of the SmartSync® brand by
 16 Ironhawk’s customers. (Id. at ¶¶ 9–11.) Indeed, many of Ironhawk’s customers
 17 know Ironhawk simply as “the SmartSync® guys.” (Gomes Decl., ¶ 11; see also
 18 Venezia Decl., Exh. A (Peyton Depo.), PP. 189:19–192:3.) For example, in a recent
 19 meeting, where Ironhawk’s CTO was introduced to a                                as being
 20 from Ironhawk, the                          made the connection on his own to
 21 SmartSync®. (Gill Decl., ¶ 11.)
 22          Ironhawk’s partners understand the value of the SmartSync® brand when
 23 reselling the SmartSync® software to military purchasers. In this regard, one of
 24 Ironhawk’s “value added resellers” named CACI International (“CACI”) testified
 25 that the inclusion of SmartSync® in CACI’s solutions would increase their scoring
 26 by the                      . (Venezia Decl., Exh P (Indermill Depo. II), PP. 82:1–
 27 84:9.) Similarly, IBM testified that Ironhawk developed good will with “several
 28 customers within [its] customer base.” (Id. at Exh. A (Peyton Depo.), PP. 134:9–14.)
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  4                                                                               . (Venezia Decl.,
  5 Exh. S (Oppenheimer Prod.), OPCO0206–37; Exh. L (Hirou Depo.), PP. 119:11–
  6 120:11; Exh. M (Gomes Depo.), PP. 294:22–296:4; Exh. N (Gill Depo.); PP.
  7 189:12–190:20.)
  8
  9
 10                          (Venezia Decl., Exh. S (Oppenheimer Prod.), OPCO0206–37.)
 11
 12
 13                                                                       (Id. at Exh. S
 14 (Oppenheimer Prod.), OPCO0701–11.)
 15
 16                            (Id. at Exh. S (Oppenheimer Prod.), OPCO0701.)
 17               Ironhawk cannot know exactly what happened next because
 18                                                                                            (Id. at
 19 Exh. H (Sheehan Depo.), PP. 133:10–21.)
 20
 21
 22                                                 . (Id. at Exh. F (Xuezhao Depo.), P. 49:11–
 23 15 & Exh. 27; Exh. H (Sheehan Depo., 143:1–22 & Exh. 61; ¶ 18 & Exh. T.) 1
 24
      1
 25   Relevant Dropbox corporate development employees who, according to documentary evidence,
    participated in at least some of the discussions testified that they
 26                    . (Venezia Decl., Exh. F (Xuezhao Depo.), PP. 27:3–6, 35:19–21; Exh. G
    (Lightcap Depo.), PP. 20:9–11, 34:2–11, 55:11–14.)                                  , Dropbox cites
 27 to these witnesses testimony in support of certain of their “undisputed” facts. (See Dropbox’s UF
 28 86–87, 162–63.) At the summary judgment stage, Dropbox may not rely on testimony
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  1         C.     Dropbox Sought a Name                                   for Its New Data
  2                Management Software, Ultimately Selecting Smart Sync
  3
  4
  5                                                                          (Venezia Decl.,
  6 Exh. H (Sheehan Depo.), P. 25:15–25 & Exh. 40.) Dropbox’s claim that it chose
  7 Smart Sync “because the phrase immediately conveyed the feature’s benefit and
  8 function” is belied by the evidence. (See, e.g., id. at Exh. H (Sheehan Depo.), PP.
  9 56:10–57:7 & Exh. 46
 10
 11                                 .)
 12
 13                    . (Id. at Exh. H (Sheehan Depo.), Exh. 40
 14
 15                         .) In this regard, Dropbox’s CEO
 16                                                              (Id. at Exh. O (Houston
 17 Depo.), P. 19:8–11.) And as to the “Smart Sync” name,
 18
 19
 20                    . (Id. at Exh. H (Sheehan Depo.), PP. 43:17–23 & Exh. 43; Exh. D
 21 (Watt Depo.), P. 36:24–37:7; Exh. E (Rowell Depo.), P. 45:17–46:4.)
 22         D.     Dropbox Withholds Key Documents from Its In-House Counsel,
 23                and Ignores Advice to Use “Dropbox“ in Front of “Smart Sync”
 24         Ironhawk fully briefed Dropbox’s failure to rely on competent advice of
 25 counsel in its Motion for Partial Summary Judgment as to Dropbox’s Advice of
 26 Counsel Defense (the “Ironhawk MSJ”), and incorporates by reference that briefing
 27
 28 contradicted by contemporaneous documents, nor should testimony of witnesses
                                          be credited.
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  1 and all evidence cited in support thereof. (Dkt. 89.) Ironhawk will not rehash the
  2 substance of that motion, however, by way of summary: (1) Dropbox withheld key
  3 documents from junior in-house counsel Nina Han; (2) Ms. Han’s advice was not
  4 communicated to decision makers at Dropbox; and (3) Dropbox did not follow Ms.
  5 Han’s advice to precede its use of Smart Sync with Dropbox.
  6               Additionally
  7
  8                                           (Venezia Decl., Exh. H (Sheehan Depo.), PP.
  9 70:10–71:18, Exh. 49.)
 10
 11
 12                                                       . (Id. at Exh. K (Lyman Depo.), P.
 13 33:6–20; Exh. H (Sheehan Depo.), PP. 72:22–73:11, 117:8–119:1 & Exh. 55.)
 14               Months after this approval, on the brink of Smart Sync’s release,
 15
 16
 17                                                 . (Id. at Exh. J (Han Depo.), P. 139:9–17 &
 18 Exh. 101; Exh. H (Sheehan Depo.), PP. 92:16–93:8 & Exh. 52.)
 19
 20
 21                                                                          (Id.)
 22               E.    Dropbox Saturates the Market with Its Smart Sync Resulting in a
 23                     Strong Brand Association Between Dropbox and Smart Sync
 24               Dropbox expended considerable resources saturating the market with its
 25 Smart Sync,
 26                                                          (Id. at Exh. O (Houston Depo.), PP.
 27 111:25–112:3 & Exh. 148.)
 28                                                       (Id. at Exh. I (Doyle Depo.), PP. 55:23–
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  1 57:25 & Exh. 79.) And Dropbox brags about its                         Google Adwords
  2 spend for 2017-2018 (Motion, P. 10:10), with approximately $7,000 per month
  3 targeting keyword variants that include “smart sync.” (Stricchiola Decl., Exh. A, ¶
  4 40.) According to Dropbox’s own rebuttal SEO expert
  5
  6                               (Id. at Exh. R (Huffman Depo.), PP. 82:12–83:10.)
  7        Dropbox’s extensive marketing of Smart Sync has resulted in a high level of
  8 brand recognition and visibility in online search engines. First, an Ironhawk
  9 customer searching for “smartsync” on Google would receive results that
 10 prominently feature Dropbox’s Smart Sync marketing materials. (Stricchiola Decl.,
 11 Exh. A, ¶ 49; Venezia Decl., ¶ 19 & Exhs. U & V.) Contrarily, when Dropbox-
 12 related results are removed from the search results, Ironhawk’s SmartSync® result
 13 appears on the first page of results (Venezia Decl., ¶ 20 & Exh. W) – a position that
 14 Dropbox’s own expert testified is valuable to a company and their brand. (Id. at
 15 Exh. R (Huffman Depo.), PP. 111:18–112:1.) Second, Dropbox’s own survey expert
 16 found that, when querying a pool of IT professionals as to what company offers
 17 Smart Sync, 81.5 percent responded that Smart Sync was offered by Dropbox. (Dkt.
 18 101-1 (Poret Report), P. 41.) Third, Dropbox’s own marketing expert noted
 19 Dropbox’s “500 million registered users” and “aided brand awareness levels in
 20 excess of 70 percent” to support his argument that “a consumer encountering the
 21 Smart Sync feature on Dropbox’s website or in Dropbox’s marketing materials will
 22 attribute this feature to Dropbox[.]” (Dkt. 97 (Pham Decl.), ¶ 61.)
 23        F.     Actual Confusion Occurs in the Marketplace, Harming Ironhawk’s
 24               Existing Business Relationships and Hindering Ironhawk’s Efforts
 25               to Expand SmartSync®’s Use in the Commercial Sector
 26        Approximately three months after Dropbox’s launch of Smart Sync,
 27 confusion bubbled up amongst two of Ironhawk’s important value added resellers –
 28 CACI and IBM – who expressed concern to Ironhawk over third-party uses of Smart
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  1 Sync. (Gomes Decl., ¶ 15.) While Dropbox impugns Mr. Gomes’ integrity by
  2 accusing him of fabricating evidence, neutral third-party witnesses at CACI and
  3 IBM testified that they asked Mr. Gomes to provide draft e-mails documenting their
  4 concerns about third-party use of Smart Sync. (Venezia Decl., Exh. B (Indermill
  5 Depo.), PP. 122:8–123:2; Exh. A (Peyton Depo.), PP. 10:25–13:7.)
  6         Similar concerns have been expressed since that time, with the below
  7 constituting a non-exhaustive list:
  8     
  9                                                    (Gomes Decl., ¶ 16.)
 10     
 11                                                      (Id. at ¶ 17.)
 12     
 13                                 . (Id. at ¶ 16.)
 14     
 15
 16
 17
 18
 19                                                                         . (Id. at ¶ 18.)
 20 III.    NINTH CIRCUIT AUTHORITY DISFAVORS SUMMARY
 21         JUDGMENT ON THE ISSUE OF LIKELIHOOD OF CONFUSION
 22         Dropbox’s Motion ignores overwhelming Ninth Circuit authority recognizing
 23 that the test for trademark infringement “is fact intensive, and it thus is rarely
 24 appropriate for deciding on summary judgment.” Xen, Inc. v. Citrus Systems, Inc.,
 25 2012 WL 5289609, *3 (C.D. Cal. Oct. 25, 2012) (Pregerson, J.), citing Au–Tomotive
 26 Gold, Inc. v. Volkswagen of Am., Inc., 457 F.3d 1062, 1075 (9th Cir. 2006); see also
 27 Interstellar Starship Servs., Ltd. v. Epix Inc., 184 F.3d 1107, 1111–12 (9th Cir.
 28 1999) (reversing grant of summary judgment on trademark infringement claim);
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  1 Solar Sys. & Peripherals, Inc. v. Solarcom Holdings, 44 Fed. Appx. 186, 191 (9th
  2 Cir. 2002) (same); KP Permanent Make-Up, Inc. v. Lasting Impression I, Inc., 408
  3 F.3d 596, 608–09 (9th Cir. 2005) (same); Jada Toys, Inc. v. Mattel, Inc., 518 F.3d
  4 628, 633–634 (9th Cir. 2008) (same); Fortune Dynamic, Inc. v. Victoria’s Secret
  5 Stores Brand Mgmt., Inc., 618 F.3d 1025, 1038-39 (9th Cir. 2010) (same); Rearden
  6 LLC v. Rearden Commerce, Inc., 683 F.3d 1190, 1221 (9th Cir. 2012) (same); His &
  7 Her Corp. v. Shake-N-Go Fashion, Inc., 572 Fed. Appx. 517, 518 (9th Cir. 2014)
  8 (same) Moldex-Metric, Inc. v. McKeon Products, Inc., 596 Fed. Appx. 567, 567–68
  9 (9th Cir. 2015) (same); JL Beverage Co., LLC v. Jim Beam Brands Co., 828 F.3d
 10 1098, 1112 (9th Cir. 2016) (same); Marketquest Group, Inc. v. BIC Corp., 862 F.3d
 11 927, 935 (9th Cir. 2017) (same); 6 MCCARTHY ON TRADEMARKS AND UNFAIR
 12 COMPETITION § 32:120 (5th ed.) (“The Ninth Circuit has been the most negative of
 13 all the circuits about summary dismissal of a trademark infringement case.”).
 14        This case is not the exception to the rule set forth above. Ironhawk has
 15 persuasive evidence as to every Sleekcraft factor.
 16 IV.    THERE IS EVIDENCE TO SUPPORT IRONHAWK ON EACH
 17        RELEVANT FACTOR
 18        “[L]ikelihood of confusion will be found whenever consumers are likely to
 19 assume that a mark is associated with another source or sponsor because of
 20 similarities between the two marks.” Academy of Motion Picture Arts & Sciences v.
 21 Creative House Promotions, Inc., 944 F.2d 1446, 1456 (9th Cir. 1991). Forward
 22 confusion occurs where “the junior user is palming off its products as those of the
 23 senior user.” Dreamwerks Prod. Grp., Inc. v. SKG Studio, 142 F.3d 1127, 1129–30
 24 (9th Cir.1998). Contrarily, reverse confusion occurs where “consumers doing
 25 business with the senior user might mistakenly believe that they are dealing with the
 26 junior user.” Id. at 1130; Commerce Nat. Ins. Servs., Inc. v. Commerce Ins. Agency,
 27 Inc., 214 F.3d 432, 445 (3d Cir. 2000) (“the doctrine of reverse confusion is
 28 designed to prevent the calamitous situation we have here—a larger, more powerful
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  1 company usurping the business identity of a smaller senior user.”).
  2         Summary judgment is inappropriate on either theory of confusion.
  3         A.    SmartSync® Is an Inherently Distinctive Protectable Mark, and
  4               Dropbox Saturated the Market with Its Own Use of Smart Sync
  5         In a forward confusion analysis, to determine the strength of the senior mark,
  6 both its conceptual strength and commercial strength are considered. GoTo.com, Inc.
  7 v. Walt Disney Co., 202 F.3d 1199, 1207 (9th Cir. 2000). However, in a reverse
  8 confusion analysis, the commercial strength of the junior user’s mark, i.e., whether
  9 “the junior user saturates the market and overwhelms the senior user[,]” is the key
 10 consideration. 6 MCCARTHY ON TRADEMARKS AND UNFAIR COMPETITION § 23:10
 11 (internal quotations omitted); Walter v. Mattel, Inc., 210 F.3d 1108, 1111 n. 2 (9th
 12 Cir. 2000) (“In a reverse confusion case . . . the inquiry focuses on the strength of
 13 the junior mark because the issue is whether the junior mark is so strong as to
 14 overtake the senior mark.”).
 15               1.     SmartSync® Is an Inherently Distinctive, at Minimum
 16                      Suggestive, Mark
 17         Ironhawk’s SmartSync® was registered on the principal register without
 18 proof of secondary meaning. (Gomes Decl., ¶ 7 & Exh. A.) This registration raises a
 19 strong presumption that SmartSync® is inherently distinctive – i.e., at minimum
 20 suggestive – “and the burden on [Dropbox] necessary to overcome that presumption
 21 at summary judgment is a heavy one.” Zobmondo Ent., LLC v. Falls Media, LLC,
 22 602 F.3d 1108, 1115 (9th Cir. 2010). In determining whether a mark is at least
 23 suggestive or merely descriptive, the primary criterion is the imagination test, which
 24 “asks whether imagination or a mental leap is required in order to reach a conclusion
 25 as to the nature of the product being referenced.” Id. at 1115–16 (internal quotations
 26 and citations omitted) (“WOULD YOU RATHER …?” could be found to be
 27 suggestive, because “one may infer that there is a question, but only imagination can
 28 tell us that the question will serve up a bizarre or humorous choice.”); see also
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  1 Moroccanoil, Inc. v. Marc Anthony Cosmetics, Inc., 57 F. Supp. 3d 1203, 1218
  2 (C.D. Cal. 2014) (inferential step required to determine MOROCCANOIL is hair
  3 care product with argan oil creates genuine dispute as to whether the mark is
  4 suggestive or descriptive).
  5         The mark SmartSync® may allow a customer to determine that something is
  6 being synchronized in an intelligent manner, but imagination or a mental leap is
  7 needed to determine the nature of the product being referenced. Indeed, at
  8 deposition Ms. Han was asked
  9                                          (Venezia Decl., Exh. J (Han Depo.), PP.
 10 138:17–139:5.) She responded,
 11                   (Id.) Further, in the historical implementations of SmartSync®, data is
 12 transferred from one node to another in a one-way transfer, i.e., it is not
 13 “synchronized” between two nodes. (Gill Decl., ¶ 4.)
 14         The third-party use of the phrase “smart sync” cited by Dropbox, while
 15 drastically overstated (as explained below), actually reinforces that SmartSync® is
 16 not descriptive. The cited use of “smart sync” is largely for unrelated products such
 17 as a baby monitor, skin cream, and an adjustable bed. (Dkt. 97-7 (Pham Decl., Exh.
 18 8).) Such use demonstrates that the phrase “is used in too many different ways to
 19 suggest any particular meaning to the reasonable consumer.” Dreamwerks Prod.
 20 Grp., 142 F.3d at 1130 (Dreamwerks deserves broad protection because “DREAM”
 21 can have a multitude of meanings).
 22         Finally
 23                                                                                 (Venezia
 24 Decl., Exh. H (Sheehan Depo.), PP. 36:2–45:4, 56:10–57:7 & Exhs. 40, 43, 46; Exh.
 25 J (Han Depo.), PP. 103:13–104:5 & Exh. 89; Exh. D (Watt Depo.), PP. 36:24–37:7,
 26 55:8–17; Exh. E (Rowell Depo.), PP. 45:17–46:4, 68:4–20.)
 27         A reasonable juror, when viewing the evidence in Ironhawk’s favor, could
 28 find that the mark is conceptually strong. See Fortune Dynamic, 618 F.3d at 1034
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  1 (“[B]ecause the decision as to whether a mark is descriptive or suggestive is
  2 frequently made on an intuitive basis rather than as a result of a logical analysis
  3 susceptible of articulation, we think a jury should assess the conceptual strength of
  4 Fortune’s mark in the first instance”) (internal citations and quotations omitted).
  5                     2.    SmartSync® Enjoys Commercial Strength in Its Historical
  6                           Niche Market, Which Could Weigh in Favor of a Likelihood
  7                           of Forward Confusion
  8               A trademark may be strong within its niche market without enjoying
  9 nationwide commercial recognition. See Kreation Juicery, Inc. v. Shekarchi, 2014
 10 WL 7564679, *6–7 (C.D. Cal. Sep. 17, 2014) (health-conscious local Mediterranean
 11 restaurant held commercially strong despite niche appeal to health-conscious
 12 consumers in Los Angeles). Here, Ironhawk has continuously used SmartSync® for
 13 a decade-and-a-half. 15 U.S.C. §1052(f) (presumptive distinctiveness of mark in
 14 continuous and substantially exclusive use for five years). During that time,
 15 Ironhawk has generated revenue in excess of                      (Gomes Decl., ¶ 12.)
 16 Ironhawk’s SmartSync® enjoys commercial strength at the very least within its
 17 historical niche market of United States military software, resulting from both out-
 18 of-pocket marketing experiences, but more importantly, countless man hours of
 19 promotion and sales. (Id. at ¶¶ 9-10; see also Venezia Decl., Exh P (Indermill Depo.
 20 II), PP. 82:1-84:9; Exh. A (Peyton Depo.), PP. 134:9–14).) A reasonable juror,
 21 viewing the evidence and all inferences in Ironhawk’s favor, could find that
 22 SmartSync® is commercially strong in its historical niche market. See Rearden, 683
 23 F.3d at 1211 (reversing summary judgment where mark at issue was “suggestive”
 24 and strengthened by “efforts to promote the mark”).
 25                     3.    Dropbox Saturated the Market with Its Use of Smart Sync
 26
 27
 28
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  1                                                      . (Id. at Exh. O (Houston Depo.),
  2 PP. 111:25–112:3 & Exh. 148; Exh. I (Doyle Depo.), PP. 55:23–57:25 & Exh. 79;
  3 Stricchiola Decl., Exh. A, ¶ 40.) This extensive marketing by Dropbox has resulted
  4 in a strong association between Dropbox and “Smart Sync.”
  5        Dropbox’s survey expert found that, when querying a pool of IT professionals
  6 as to what company offers Smart Sync, 81.5 percent responded Smart Sync was
  7 offered by Dropbox. (Dkt. 101-1 (Poret Report), P. 41.) Similarly, Dropbox’s
  8 marketing expert opined that with Dropbox’s strong brand recognition, consumers
  9 encountering “Smart Sync” are likely to associate the phrase with Dropbox. (Dkt. 97
 10 (Pham Decl.), ¶ 61.) And as noted above, Ironhawk consumers searching for
 11 “smartsync” on Google receive results that prominently feature Dropbox’s Smart
 12 Sync marketing materials. (Stricchiola Decl., Exh. A, ¶ 49; Venezia Decl., ¶ 19 &
 13 Exhs. U & V.)
 14        Dropbox’s saturation of the market with its Smart Sync weighs heavily in
 15 support of finding a likelihood of reverse confusion. See JL Beverage Co, LLC, 828
 16 F.3d at 1109 (reversing summary judgment on reverse confusion and noting that
 17 “[t]he national recognition of the Jim Beam mark increases the likelihood that
 18 consumers will believe they are doing business with Jim Beam, not JL Beverage,
 19 when they purchase Johnny Love Vodka”).
 20               4.    The Evidence of Third-Party Use is Mostly Irrelevant, and
 21                     Entirely Inadequate to Support Summary Judgment
 22        Dropbox argues that the SmartSync® mark is weakened by a “crowded field”
 23 of third parties using the same mark. There are several problems with Dropbox’s
 24 argument.
 25        First, third-party use of “smart sync” may only be relevant to the strength of
 26 the SmartSync® mark insofar as that use is in the same or a related industry as
 27 Ironhawk. Eclipse Assocs., Ltd. v. Data Gen. Corp., 894 F.2d 1114, 1119 (9th Cir.
 28 1990) (“Evidence of other unrelated potential infringers is irrelevant to claims of
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  1 trademark infringement and unfair competition under federal law.”); see also
  2 Rearden, 683 F.3d at 1211 (affirming rejection of argument that appellants’ marks
  3 were weak because over 840 different companies used the mark or some variation
  4 thereof because only four of those entities were in the plaintiff’s industry); M2
  5 Software, Inc. v. Madacy Ent., 421 F.3d 1073, 1087–88 (9th Cir. 2005) (affirming
  6 district court’s exclusion of evidence of unrelated third party marks). Here,
  7 Dropbox’s own exhibit showing third-party use states that only 18 of the 44 uses of
  8 “Smart Sync” are in a related field. (Dkt. 97-7 (Pham Decl., Exh. 8).) And those 18
  9 purportedly related uses include several plainly unrelated products such as a clock
 10 synchronization system and music-related software, leaving only a small handful of
 11 potentially relevant uses.2 (Id.)
 12          Second, Ironhawk’s evidentiary objections demonstrate that Dropbox offers
 13 no admissible evidence substantiating any third-party use of “Smart Sync” in the
 14 data management field. Dropbox relies solely upon a Google search performed by
 15 its marketing expert witness, who has no personal knowledge as to the use of any of
 16 the identified marks. See Internet Specialties West, Inc. v. ISPWest, 2006 WL
 17 4568796, *1 (C.D. Cal. Sep. 19, 2006) (excluding printouts of website purporting to
 18 show third party use of the mark at issue where defendant lacked corresponding
 19 testimony from someone with knowledge of the site); Icon Enters. Int’l, Inc. v. Am.
 20 Products Co., 2004 WL 5644805, *31 (C.D. Cal. Oct. 7, 2004) (excluding Thomson
 21 and Thomson search report because no evidence of how marks were used and
 22 whether they were used in relevant industry). Without the underlying foundational
 23 evidence, even purported evidence of third-party use in the same general field is, at
 24 best, inadequate to compel summary judgment, and, more likely, irrelevant to the
 25 strength of the mark. Rebelution, LLC v. Perez, 732 F. Supp. 2d 883, 893 (N.D. Cal.
 26 2010) (“without evidence of the scope of use by third-parties, the degree to which
 27
      2
        Certain of those allegedly relevant users have been sent cease and desist letters by Ironhawk,
 28
      with   many agreeing to discontinue their use of Smart Sync. (Venezia Decl., ¶ 28 & Exh. Z.)
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  1 plaintiff’s mark was weakened by these users cannot be determined”). This
  2 evidentiary objection is not merely theoretical, for instance, Dropbox puts forth
  3 smartsync.com as an example of third party use while failing to cite evidence
  4 showing that smartsync.com is owned by a Russian company or the non-competitive
  5 nature of its goods.3 (Venezia Decl., Exh. M (Gomes Depo.), P. 220:10–17; Exh. N
  6 (Gill Depo.), PP. 181:13–182:3, 183:3–12.)
  7          In sum, “there are genuine disputes of material fact as to what constitutes the
  8 relevant ‘field,’ whether the field is ‘crowded,’ and the effect of the foregoing on the
  9 likelihood of confusion analysis.” JL Beverage, 828 F.3d at 1108.
 10          B.      Dropbox’s Smart Sync and Ironhawk’s SmartSync® Operate in
 11                  the Same Data Management Industry
 12          Goods that do not operate in the same manner but serve the same ultimate
 13 purpose may be found to be in proximity. Allstate Ins. Co. v. Kia Motors America,
 14 Inc., 2017 WL 10311211, *8 (C.D. Cal. Sep. 20, 2017) (Allstate’s driver behavior
 15 monitor and Kia’s autonomous driving product could be found in close proximity
 16 because “both function as ways to improve driver safety.”); see also Fortune
 17 Dynamic, 618 F.3d at 1035 (noting that “related” or “complementary” goods also
 18 increase a likelihood of confusion).
 19
 20                                                                                         (Venezia
 21 Decl., Exh. H (Sheehan Depo.), PP. 45:8–46:16.) While Dropbox emphasizes Smart
 22 Sync’s ability to help users save hard drive space, Dropbox’s press release
 23 announcing Smart Sync makes clear the feature is intended to facilitate file sharing
 24 amongst teams. (Id. at Exh. O (Houston Depo.), Exh. 144 (“Smart Sync works on all
 25 files and folders in a Dropbox Business account. Paired with the recently released
 26 Dropbox team folders, Dropbox becomes a centrally manageable, secure hub for
 27
      3
        Dropbox’s materials show other users of “smart sync” (iTristan Media Group, 2BrightSparks,
 28
      and   Micro-Star International) are headquartered internationally. (Dkt. 97-7; 97-10, PP. 17, 42.)
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  1 teams to work together on all their files.”)
  2          Similarly, Ironhawk’s SmartSync® allows for the efficient transfer of files
  3 between multiple locations and users. (Gomes Decl., ¶ 4; Gill Decl., ¶ 6.) In other
  4 words, both Dropbox’s and Ironhawk’s data management software facilitate access
  5 to files by multiple users in multiple locations – they only differ insofar as there are
  6 different ways to skin that cat. And Dropbox’s utilization of a cloud-based system to
  7 share files between users is not unique, one implementation of SmartSync®
  8 previously identified                                            utilizes a Dropbox-like
  9 shared folder. (Gill Decl., ¶ 5.)
 10          For this reason Ironhawk views Dropbox as a competitor, but previously also
 11 viewed Dropbox as a potential business partner. (Gomes Decl., ¶ 19.) That is, for
 12 Dropbox’s Smart Sync feature to work, allowing users to open files locally and
 13 without delay that are only saved on a cloud drive, Dropbox must necessarily use
 14 data replication to move the data in the cloud to the local computer. (Gill Decl., ¶ 7.)
 15 Ironhawk’s SmartSync® could be integrated within Dropbox’s architecture to be the
 16 engine that powers that data replication. (Id. at ¶ 8.) And because SmartSync® has
 17 been similarly integrated within other systems for its historical customers, Dropbox
 18 using the name Smart Sync implies that it is powered by SmartSync®, when it in
 19 fact is not.4 (Id. at ¶ 9.) For an analogous situation, one need look no further than
 20 stickers reading “Intel Inside” on computers and similar devices. The computer may
 21 be manufactured by Dell or Microsoft or others, but the consumer recognizes that
 22 technology inside comes from Intel.
 23          Lastly, Dropbox’s argument that Dropbox and Ironhawk serve different
 24 customers is vastly overstated. While Dropbox may not currently sell enterprise
 25 solutions directly to the United States military, its products are offered to
 26
 27   4
      That Ironhawk’s business development activities within the commercial sector have involved
                                                                     – further reinforces the
 28
    competitive nature between Ironhawk and Dropbox. (Gomes Decl., ¶¶ 13–14.)
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  1 government and military purchasers through third-party resellers on the GSA
  2 website. (Venezia Decl., ¶ 21 & Exh. X.) And as discussed above, SmartSync® is
  3 not entirely a military product, SmartSync® has been used commercially, and
  4 Ironhawk actively seeks to expand SmartSync®’s use in the commercial sector.
  5 (Gomes Decl., ¶¶ 8, 13–14.)
  6          C.     Smart Sync Is Essentially Identical to the SmartSync® Mark
  7          “Similarity of the marks has always been considered a critical question in the
  8 likelihood-of-confusion analysis.” JL Beverage, 828 F.3d at 1109.
  9          Dropbox cannot seriously dispute that its use of Smart Sync is virtually
 10 identical to Ironhawk’s SmartSync® mark in terms of sight, sound, and meaning.
 11 The words appear exactly the same except for one inconsequential space, sound
 12 exactly the same, and being the same words, have the same meaning to customers.
 13 This similarity weighs strongly towards finding a likelihood of confusion.
 14 Dreamwerks Prod. Grp., 142 F.3d at 1131 (“Dreamwerks” and “DreamWorks”
 15 similar); AMF Inc., 599 F.2d at 351–52 (“Sleekcraft” and “Slickcraft” are “quite
 16 similar on all three levels”).
 17          Instead, Dropbox argues that its use of a house mark, Dropbox, in close
 18 proximity to “Smart Sync” renders the marks dissimilar. But because the calling
 19 card of reverse confusion is a strong association between the junior user and the
 20 mark at issue, the use of a house mark “aggravate[s], rather than mitigate[s], reverse
 21 confusion[.]” A & H Sportswear, Inc. v. Victoria’s Secret Stores, Inc., 237 F.3d 198,
 22 230 (3d Cir. 2000) (use of Victoria’s Secret in close proximity to “miracle” could
 23 aggravate reverse confusion); Americana Trading Inc. v. Russ Berrie & Co., 966
 24 F.2d 1284, 1288 (9th Cir. 1992) (same proposition).5
 25          Even setting aside evidence that Dropbox does not use its house mark in close
 26
 27   5
      Dropbox’s authority, Valador, Inc. v. HTC Corp., 242 F. Supp. 3d 650, 663–64 (E.D. Va. 2017),
    a cherry picked outlier case from the Eastern District of Virginia, contradicts binding Ninth
 28
    Circuit   authority such as Americana Trading.
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  1 proximity to Smart Sync (Dkt. 89-2, ¶¶ 6–10; Dkt. 89-6, PP. 61–67, 81–92), the use
  2 of a “house mark” does not eliminate the likelihood of forward confusion either. The
  3 Lanham Act protects against not just “source confusion,” but also confusion as to an
  4 affiliation or endorsement. Dropbox’s use of the Dropbox mark does nothing to
  5 eliminate or mitigate the likelihood that consumers who know Ironhawk would
  6 mistakenly believe that Dropbox licensed the SmartSync® mark from Ironhawk or
  7 incorporated Ironhawk’s SmartSync® software into Dropbox products. Fleischmann
  8 Distilling Corp. v. Maier Brewing Co., 314 F.2d 149, 155 (9th Cir. 1963) (“[i]t is
  9 not material whether [a consumer] would think that the makers of the Scotch whisky
 10 were actually brewing and bottling this beer, or whether it was being produced
 11 under their supervision or pursuant to some other arrangement with them”).
 12         A reasonable juror, viewing the evidence in Ironhawk’s favor, could find the
 13 similarity between the marks to be so striking as to counsel strongly in favor of a
 14 likelihood of confusion, whether forward or reverse.
 15         D.    Dropbox’s Use of Smart Sync Has Caused Actual Confusion
 16         “Evidence that use of the two marks has already led to confusion is persuasive
 17 proof that future confusion is likely.” AMF Inc., 599 F.2d at 352. However, given
 18 the difficulty of collecting such evidence, “the failure to prove instances of actual
 19 confusion is not dispositive[,]” and “this factor is weighed heavily only when there
 20 is evidence of past confusion[.]” Id. at 353. Here, there is significant evidence of
 21 actual confusion caused by Dropbox’s use of Smart Sync.
 22         As outlined above, two of Ironhawk’s key value added resellers – CACI and
 23 IBM – expressed concern regarding confusion that had arisen from Dropbox’s use
 24 of Smart Sync. (Gomes Decl., ¶ 15.) Dropbox’s accusations that such evidence was
 25 manufactured are unfounded – neutral third party testimony from both CACI and
 26 IBM confirms that Mr. Gomes was asked by CACI and IBM to provide drafts of the
 27 e-mails documenting customer confusion. (Venezia Decl., Exh. B (Indermill Depo.),
 28 PP. 122:8–123:2; Exh. A (Peyton Depo.), PP. 10:25–13:7.)
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  1               Since that time, additional instances of actual confusion have arisen. (Gomes
  2 Decl., ¶¶ 16–18.) Dropbox attempts to write off such confusion as “self-serving
  3 anecdotes,” however, Dropbox’s own counsel recently argued that instances of
  4 confusion at trade shows evidenced only by the declaration of their client were
  5 “classic examples of reverse confusion.” Equinox Hotel Mgmt., Inc. v. Equinox
  6 Holdings, Inc., Case 4:17-cv-06393-YGR, Dkt. 14 at PP. 22–24 (N.D. Cal. Nov. 20,
  7 2017.) Ironhawk agrees.
  8               Dropbox’s survey purporting to provide evidence to the contrary, according to
  9 Dropbox’s expert, Mr. Poret, is solely a forward confusion survey and thus
 10 irrelevant to reverse confusion. (Dkt. 101-1 (Poret Report), P. 4; Venezia Decl.,
 11 Exh. Q (Poret Depo.), PP. 17:17–18:6.) Mr. Poret’s survey was also fatally flawed
 12 to the extent it purported to study forward confusion. Mr. Poret ignored that an
 13 Eveready survey requires the survey population to have top-of-mind knowledge of
 14 the senior mark, a key take away from the article cited by Mr. Poret in support of his
 15 choice to conduct an Eveready survey. (Dkt. 101-1 (Poret Report), P. 9; Venezia
 16 Decl., Exh. Y (Swann Article), P. 733;.) Mr. Poret surveyed potential Dropbox
 17 customers whom he stated “would have no meaningful likelihood of encountering
 18 and considering Ironhawk’s products[,]” i.e., the knowledge required to conduct an
 19 Eveready survey. (Dkt. 101-1 (Poret Report), P. 8.) In any event, a juror should be
 20 the arbiter of the credibility and persuasiveness of the Poret survey in the context of
 21 this case.
 22               E.    Certain Marketing Channels of Ironhawk and Dropbox Overlap
 23               The marketing channels used by Ironhawk and Dropbox converge in key
 24 respects. Ironhawk utilizes its employees as salespeople in seeking accounts for the
 25 business. (Gomes Decl., ¶ 9.) While Dropbox implies that it attracts customers
 26 solely through online advertising
 27                                      (Venezia Decl., Exh. K (Lyman Depo.), PP. 11:21–
 28 12:1, 25:4–17, 28:4–13 & Exh. 109 (
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  1
  2                                    ”).) Further, both Ironhawk and Dropbox maintain
  3 websites to market their products. (Gomes Decl., ¶ 9.) While Dropbox argues that
  4 Ironhawk does not sell its product directly through its website, Ironhawk’s website
  5 provides brand awareness, a purpose Dropbox’s SEO rebuttal expert describes as
  6 “totally legitimate.” (Venezia Decl., Exh. R (Huffman Depo.), PP. 75:11–76:9.).6
  7 And both Ironhawk’s SmartSync® and Dropbox’s paid plans are available for sale
  8 on the GSA website. (Id. at ¶ 21 & Exh. X; Gomes Decl., ¶ 20 & Exh. B.)
  9            F.      Ironhawk’s Business Partners Do Not Believe the Sophistication of
 10                    Their Customers Protects from Confusion
 11            Two of Ironhawk’s value added resellers, CACI and IBM, earn billions in
 12 revenue selling the type of integrated software solutions that include SmartSync®,
 13 giving them particular expertise as to whether the sophistication of such software
 14 customers would prevent confusion. In this regard, CACI testified:
 15                    “[I]f there was another competitor that was using the name
 16                    . . . you dilute the benefits that you bring to your end
 17                    customer and you dilute your score, raising the potential
 18                    for you to not win the bid.”
 19 (Venezia Decl., Exh. P (Indermill Depo. II), PP. 76:24–77:8.) IBM explained:
 20                    [W]hen you’re talking about someone at a higher level, all
 21                    they hear are buzzwords. That’s the problem. They just
 22                    hear buzzwords. They don’t understand the technology,
 23                    the drivers, the customers or the solutions behind it[.]”
 24 (Id. at Exh. A (Peyton Depo.), PP. 57:2–59:14.)
 25            Furthermore, the parties’ respective goods are not so expensive as to mitigate
 26
      6
          Dropbox attempts to analogize the Ninth Circuit’s “marketing channels” factor to the Fourth
 27 Circuit’s “similarity in advertising” factor. Valador, 242 F. Supp. 3d at 667. But there are material
 28 differences. Valador explains that the amount spent on advertising and appearance of ads are key
    considerations; Sleekcraft does not. Id. at 667–68; AMF Inc., 599 F.2d at 353.
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  1 against a likelihood of confusion. Ironhawk sells SmartSync® products for as low as
  2                              , and Dropbox’s packages with Smart Sync are sold for as low
  3 as $12.50 per month. (Gomes Decl., ¶ 21 & Exh. C.)
  4            G.         At Minimum, Dropbox Released Its Smart Sync with Full
  5                       Knowledge of and Disregard for Ironhawk’s Rights in the
  6                       SmartSync® Mark
  7            When considering intent in a forward confusion case, the question is “whether
  8 defendant in adopting its mark attempted to capitalize on plaintiff’s good will.”
  9 Marketquest Grp., Inc., 862 F.3d at 934. However, in a reverse confusion case, the
 10 Court may consider several indicators of intent, ranging from a deliberate effort to
 11 push a company out of the market to actions that “culpably disregarded the risk of
 12 reverse confusion.” Id. at 934–35.
 13            There is substantial evidence from which a juror could find that Dropbox
 14 either acted deliberately or at least “culpably disregarded the risk of reverse
 15 confusion.” Id. Dropbox adopted the same exact mark for the same category of
 16 goods
 17
 18
 19
 20                                                              (Venezia Decl., Exh. S
 21 (Oppenheimer Prod.), OPCO0701–11; Exh. J (Han Depo.), P. 139:9–17 & Exh. 101;
 22 Exh. H (Sheehan Depo.), PP. 92:16–93:8 & Exh. 52.)
 23
 24
                      7
 25                       Even after being sued, Dropbox continued to use its Smart Sync
 26
      7
          As Dropbox’s counsel has argued, “the decision to move forward in the face of this knowledge
 27 imputes at best a gross disregard of [plaintiff’s] rights and at worst, a deliberate intent to push
 28 [plaintiff] out of the market.” Equinox Hotel Mgmt., Inc. v. Equinox Holdings, Inc., Case 4:17-cv-
    06393-YGR,     Dkt. 14 at PP. 22–24 (N.D. Cal. Nov. 20, 2017.)
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  1 without even attempting to mitigate the harm.
  2
  3                                                                                    . (Id.
  4 at Exh. R (Huffman Depo.), PP. 82:12–83:10.)
  5         In summary, there is evidence from which a juror could find that Dropbox
  6 deliberately appropriated the Smart Sync mark, as opposed to paying to acquire
  7 Ironhawk or its rights. Alternatively, there is evidence from which a juror could find
  8 that Dropbox recklessly proceeded with its launch of Smart Sync, knowing of but
  9 assuming the risk of flooding the market with its Smart Sync and thus creating
 10 reverse confusion to the detriment of Ironhawk. See JL Beverage, 828 F.3d at 1112
 11 (finding disputed issue of fact necessitating denial of summary judgment where Jim
 12 Beam’s legal team was aware of plaintiff’s trademark prior to nationwide rollout,
 13 but denied an intent to infringe).
 14         H.    Ironhawk Has Attempted and Continues Its Attempts to Expand
 15               the Use of SmartSync® Further Into the Commercial Sector
 16         “The likelihood of confusion is greater if either party might expand its
 17 business to compete with the other.” Solar Sys. & Peripherals, 44 Fed. Appx. at
 18 190. Significant evidence and common sense supports the proposition that
 19 Dropbox’s use of Smart Sync has and will continue to interfere with Ironhawk’s
 20 attempts to expand SmartSync®’s use in the commercial sector.
 21         Ironhawk has historically and continues to attempt to expand the use of
 22 SmartSync® in the commercial sector, including with Dropbox itself. (Gomes Decl.,
 23 ¶¶ 8, 13–14, 19.) Ironhawk has ongoing negotiations with
 24                               – concerning an implementation of SmartSync® within
 25 its cloud storage architecture. (Id. at ¶ 14.) Ironhawk is also pursuing
 26 implementations of SmartSync® within the oil and gas industry by way of
 27              , and the pharmacy industry by way of              . (Id. at ¶ 8.) Ironhawk
 28 recently discussed an implementation of SmartSync® with
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  1                      . (Id.)
  2               Dropbox’s authorities are distinguishable. In M2 Software, 421 F.3d at 1085,
  3 Surfvivor, F. 3d at 634, and Matrix Motor Co., Inc. v. Toyota Jidosha Kabushiki
  4 Kaisha, 290 F. Supp. 2d 1083, 1096 (C.D. Cal. 2003) the courts held that the
  5 expansion plans were unrealistic, unsupported by specific evidence, and speculative,
  6 respectively. No such deficiencies exist here, i.e., Ironhawk’s attempts to expand
  7 SmartSync®’s use in the commercial sector are longstanding, substantiated by
  8 historic success, subject to current negotiations with potential business partners, and
  9 supported by the evidence cited above. See also Rearden, 683 F.3d at 1219 (“In the
 10 end, it is for the jury to decide whether the parties really intend to expand into—or
 11 are already operating in—the same product line or lines”).
 12               Summary judgment on liability should be denied.
 13 V.            A REASONABLE JUROR, VIEWING THE EVIDENCE IN FAVOR
 14               OF IRONHAWK, COULD FIND SUFFICIENT WILLFULNESS TO
 15               JUSTIFY DISGORGEMENT OF PROFITS
 16               Dropbox argues that no reasonable juror, viewing the evidence and all
 17 inferences in Ironhawk’s favor, could find willful infringement, and thus the Court
 18 should summarily adjudicate the remedy of wrongful profits.
 19               As an initial matter, the U.S. Supreme Court recently granted a cert petition
 20 that will decide whether willfulness is required at all for purposes of a disgorgement
 21 of profits. Ironhawk recognizes that this Court is currently bound by Ninth Circuit
 22 precedent requiring a finding of willfulness, but respectfully submits that the better
 23 reasoned authority in other circuits holds that willfulness is not required.
 24               Regardless, a reasonable juror, viewing the evidence and all inferences in
 25 Ironhawk’s favor, could find the intent necessary to predicate a profit award even
 26 under current Ninth Circuit law. The evidence showing willfulness and/or bad faith
 27 is discussed supra at Sections II.B. and IV.G., and thus will not be repeated.
 28               Ironhawk will, however, address Dropbox’s claim that a profit award is never
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  1 available in a reverse confusion case. Dropbox cites to Lindy Pen Co., Inc. v. Bic
  2 Pen Corp., 982 F.2d 1400, 1405–06 (9th 1993) as support for its argument. To be
  3 fair, as Dropbox notes, some district courts within the Ninth Circuit have construed
  4 Lindy Pen as wholly eliminating the possibility of a profit award in a reverse
  5 confusion case. However, Lindy Pen was not a reverse confusion case, and neither
  6 Lindy Pen nor the Ninth Circuit has ever expressly held that disgorgement of profits
  7 is categorically unavailable as a remedy for reverse confusion. In better reasoned
  8 authority, such as Sands, Taylor & Wood, the Seventh Circuit held that an award of
  9 profits could be available in a reverse confusion case “to make violations of the
 10 Lanham Act unprofitable[,]” subject to equitable considerations such as whether the
 11 infringer engaged in bad faith. 978 F.2d at 961 (internal citation omitted).
 12          Ultimately the Court in Sands, Taylor & Wood found that there was not
 13 sufficient bad faith to justify an award of profits in that case, noting the infringer’s
 14 reasonable reliance on counsel. Id. at 961–62. But here, Dropbox did not reasonably
 15 rely on counsel, with its failure to provide key documents and follow counsel’s
 16 advice in fact evidencing bad faith.8 Further, given Dropbox’s extensive knowledge
 17 of Ironhawk’s SmartSync®, Ironhawk’s position as a competitor in the data
 18 management space, and the potential for implementations of SmartSync® with
 19 Dropbox’s biggest competitors in the cloud storage industry, a reasonable jury could
 20 find Dropbox is attempting to put the smaller competitive Ironhawk out of business.
 21 See Marketquest Grp., 862 F.3d at 934–35 (no requirement in reverse confusion
 22 cases to demonstrate intent to “siphon off the other’s goodwill” to prove intentional
 23 infringement). Analysis of the availability of a profit award should wait until trial.
 24 VI.      CONCLUSION
 25          For the reasons set forth above, the Court should deny Dropbox’s Motion for
 26 Summary Judgment in its entirety.
 27
      8
        Chiron Corp. v. Genentech, Inc., 268 F. Supp. 2d 1117, 1123–25 (E.D. Cal. 2002); Int’l Star
 28
      Class     Yacht Racing Ass’n v. Tommy Hilfiger, U.S.A., Inc., 80 F.3d 749, 754 (2d Cir. 1996).
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  1                                   CERTIFICATE OF SERVICE
  2               I hereby certify that on this ___ day of June, 2019, I electronically filed the
  3 foregoing IRONHAWK TECHNOLOGIES, INC.’S OPPOSITION TO
  4 DROPBOX, INC.’S MOTION FOR SUMMARY JUDGMENT with the Clerk
  5 of the Court using the CM/ECF system which will send notification of such filing to
  6 the following: SEE SERVICE LIST ATTACHED
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                                                       Andrea A. Augustine
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  1                                        SERVICE LIST
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                          USDC CD CA Case No. 2:18-cv-01481-DDP(JEMx)
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